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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

DANIELLE FLEMING,            §
AUSTIN FLEMING,              §
AND SOLD IN A SNAP LLC       §
                             §
    Plaintiffs               §
                             §
V.                           §                             CIVIL ACTION NO. 4:21-cv-01263
                             §
HEARST NEWSPAPERS, LLC D/B/A §
HOUSTON CHRONICLE A/K/A      §
HOUSTONCHRONICLE.COM A/K/A §
CHRON.COM AND                §
MOVE, INC. D/B/A REALTOR.COM §
                             §
    Defendants               §

  PLAINTIFFS’ CERTIFICATE OF INTERESTED PERSONS AND ENTITIES

          Pursuant to the Court’s May 3, 2021 Order for Conference and Disclosure of

Interested Parties (ECF No. 5), Plaintiffs Danielle Fleming, Austin Fleming, and Sold in

a Snap LLC (hereinafter “the Plaintiffs”) state that the following persons and entities are

financially interested in the outcome of this litigation, to the best of the Plaintiffs’

knowledge:

          •   Danielle Fleming (Plaintiff)

          •   Austin Fleming (Plaintiff)

          •   Sold in a Snap LLC (Plaintiff)

          •   Move, Inc. d/b/a Realtor.com (Defendant)

          •   News corporation (Parent of Move, Inc.)

          •   REA Group Ltd. (Partial owner of Move, Inc.)

          •   Hearst Newspapers, LLC d/b/a Houston Chronicle a/k/a HoustonChronicle.com
              a/k/a Chron.com (Defendant)



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          •   The Hearst Corporation (Owner and Ultimate Corporate Parent of Hearst
              Newspapers, LLC), and certain wholly owned subsidiaries of The Hearst
              Corporation

          •   Plaintiffs’ Counsel:    John A. “Andy” Powell
                                      Naman, Howell, Smith & Lee, PLLC
                                      400 Austin Avenue, Suite 800
                                      P.O. Box 1470
                                      Waco, Texas 76703-1470

          •   Defendant Move, Inc.’s Counsel:          Penn C. Huston
                                                       Mouer Huston PLLC
                                                       349 Heights Blvd
                                                       Houston, Texas 77007

          •   Defendant Hearst Newspapers, LLC’s Counsel:             Ravi V. Sitwala
                                                                      The Hearst Corporation
                                                                      300 W. 57th Street
                                                                      New York, NY 10019

Dated: May 25, 2021

                                      Respectfully submitted,


                                        /s/ John A. Powell
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                                      ATTORNEYS FOR PLAINTIFFS
                                      DANIELLE FLEMING,
                                      AUSTIN FLEMING, AND
                                      SOLD IN A SNAP LLC


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                            CERTIFICATE OF SERVICE

        I hereby certify that on this 25th day of May, 2021, a true and correct copy of the
foregoing was filed electronically with the Clerk of the Court by using the CM/ECF
system, which will send a notice of electronic filing to all counsel of record who have
registered to receive electronic service.


                                      /s/ John A. Powell
                                     John A. Powell




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                                                                            PERSONS AND ENTITIES
